         Case 1:20-cr-00330-AJN Document 158 Filed 02/05/21 Page 1 of 2
                                          U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007



                                                    February 4, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:    United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

       The Government respectfully submits this letter to provide an update regarding the
defendant’s conditions of confinement at the Metropolitan Detention Center (“MDC”) pursuant to
the Court’s Order dated December 8, 2020. (Dkt. No. 92). Over the past two months, the
Government has had multiple communications with MDC legal counsel regarding the defendant’s
conditions of confinement. This update is based on information provided to the Government by
MDC legal counsel through those communications.

        The defendant continues to receive more time to review discovery than any other inmate
at the MDC. Specifically, the defendant is permitted to review her discovery thirteen hours per
day, seven days per week. During the entirety of that time, the defendant has access to a desktop
computer provided by the MDC on which to review discovery. Additionally, pursuant to the
Court’s January 15, 2021 Order, the defendant also has access to a laptop computer provided by
the Government on which to review discovery for the full thirteen hours per day, seven days per
week. Also during those thirteen hours per day, the defendant may use the MDC desktop computer
to send and receive emails with her attorneys.

        The defendant also has as much, if not more, time as any other MDC inmate to
communicate with her attorneys. Due to the elevated number of COVID-19 cases within the MDC,
in-person visits have been suspended since in or about December 2020. While in-person visits are
suspended, the defendant has had regular video-teleconference (“VTC”) calls with her counsel. In
particular, the defendant has VTC calls with her counsel every weekday for three hours per call.
If defense counsel requires additional time to speak with the defendant, counsel may request to
schedule an additional phone call on Saturdays as needed. All of these VTCs and telephone calls
take place in a room where the defendant is alone and where no MDC staff can hear her
communications with counsel.

      The defendant’s legal mail is processed in the same manner as mail for all other inmates at
the MDC. All inmate mail is sent to the MDC’s mail room, where every piece of mail is processed
          Case 1:20-cr-00330-AJN Document 158 Filed 02/05/21 Page 2 of 2

 Page 2



before being provided to the inmate recipient. Due to the large number of MDC inmates and the
volume of mail received at the MDC, this process can take multiple days. As noted above,
however, the defendant is able to send and receive emails with defense counsel every day and has
regular communication with counsel via VTC.

        MDC staff conduct two pat-down searches of the defendant per day: once when she is
moved from her isolation cell to the day room each morning, and once when returns from the day
room to her isolation cell each night. As part of those searches, the defendant is required to remove
her mask and open her mouth briefly so that MDC staff, who remain masked during the searches,
can confirm she has not hidden contraband in her mouth. These pat-down and mouth searches are
consistent with MDC’s policy that all inmates be searched whenever they move to a different
location within the jail facility. Previously, the defendant attended VTC conferences in a separate
part of the MDC, requiring that she be searched when taken to and from her VTC calls with
counsel. Recently, however, the MDC changed the location of the defendant’s VTC calls so that
the defendant does not need to leave her unit in order to attend VTC calls with her counsel, thereby
reducing the number of searches. During the suspension of visitation, the defendant has not been
strip searched. When visitation resumes, the defendant, like all other inmates, will be strip
searched after any in-person visit.

        In addition, MDC staff search the defendant’s cell for contraband once per day. MDC staff
also conduct a body scan on the defendant once per week to check for any secreted contraband.
At night, MDC staff are required to confirm that the defendant is not in distress every fifteen
minutes. To do so, staff point a flashlight to the ceiling of the defendant’s cell to illuminate the
cell sufficiently to confirm that the defendant is breathing every fifteen minutes. The MDC
continues to assess that these searches are all necessary for the safety of the institution and the
defendant.

       Should the Court have any questions or require any additional details regarding this topic,
the Government will promptly provide additional information.

                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    United States Attorney


                                              By:
                                                    Maurene Comey / Alison Moe / Lara Pomerantz
                                                    Assistant United States Attorneys
                                                    Southern District of New York
                                                    Tel: (212) 637-2324

Cc: All Counsel of Record (By ECF)
